            Case 2:14-cv-07147-WB Document 14 Filed 06/18/15 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ARKADY RAYZ, on behalf of himself and all
others similarly situated

                          Plaintiffs.             Civil Action No.: 14-cv-7147

       v.

PROGRESSIVE AD SOLUTIONS, LLC;
PHOENIX LEGAL GROUP, LLC; and DOES
1 through 10, inclusive,

                          Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL


       Plaintiff, ARKADY RAYZ, on behalf of himself and all others similarly situated,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby, and without prejudice, voluntarily dismisses

from this action defendants PHOENIX LEGAL GROUP, LLC, and DOES 1 through 10.




                                              Respectfully Submitted,
                                              CONNOLLY WELLS & GRAY, LLP

                                                /s/ Stephen E. Connolly
                                              Stephen E. Connolly
                                              2200 Renaissance Blvd., Suite 308
                                              King of Prussia, PA 19406
                                              Telephone: (610) 822-3700
                                              Facsimile: (610) 822-3800
Date: June 18, 2015                           Email: sconnolly@cwg-law.com
